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Attorneys for Defendant
RONY RAEANN CHAVEZ


               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF IDAHO
                     (HONORABLE DAVID C. NYE)


 UNITED STATES OF AMERICA, )                1:22-cr-001-DCN
                           )
       Plaintiff,          )                Affidavit in Support of Defendant’s
                           )                Unopposed Motion to Continue
   vs.                     )                Sentencing
                           )
 RONY RAEANN CHAVEZ,       )
                           )
       Defendant.          )
                           )


      Mark Ackley, being first duly sworn upon oath, deposes and says:

      1.    I am an attorney licensed to practice in the state of Idaho, in the

United States District Court for the District of Idaho, and the Ninth Circuit

Court of Appeals.




Affidavit In Support Of Motion To     -1-
Continue Sentencing
      2.    That our office has been appointed by the Court to represent Rony

Raeann Chavez in this matter and the sentencing hearing is currently set for

November 14, 2022.

      3.    I was assigned to this case as co-counsel on September 22, 2022.

The primary attorney, Mile Pope, is out of the office on extended leave.

However, he is continuing to handle significant aspects of this representation,

including the coordinating of the mental health evaluation with our expert.

Importantly, given Mr. Pope’s long-standing relationship with Ms. Chavez,

continuity of his representation is necessary to ensure that she receives

effective assistance of counsel. That said, I am familiarizing myself with the

case and plan to meet with Ms. Chavez soon. Nevertheless, it will take some

additional time for me to come completely up to speed if indeed I need to

represent her at sentencing and/or identify and file any objections to the

presentence report. Accordingly, I am requesting a sixty-day extension so that

Ms. Chavez receives effective assistance at her sentencing.

      4.    In connection with this request, I contacted counsel for the

government, Assistant United States Attorney David J. Morse, who advised

that the government has no objection to this request for a continuance, but that

he would object to any further extensions.

      5.    I certify that this motion is brought in good faith and not for any

purpose of improper delay.


Affidavit In Support Of Motion To     -2-
Continue Sentencing
      6.    Given that Ms. Chavez has entered her guilty plea, there are no

speedy trial issues raised by this motion.

      Accordingly, Ms. Chavez respectfully requests the Court to continue her

sentencing for no less than sixty (60) days.

Dated: October 17, 2022              Respectfully submitted,
                                     NICOLE OWENS
                                     FEDERAL PUBLIC DEFENDER
                                     By:


                                     /s/ Mark Ackley
                                     Mark Ackley
                                     First Assistant
                                     Federal Defender Services of Idaho
                                     Attorneys for Defendant
                                     RONY RAEANN CHAVEZ




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